The first subject considered in appellant's motion for rehearing deals with the question of intent.  The only evidence on this subject, which is quoted at length, comes from the appellant himself and that was properly taken into account in the court's charge.  We find no objection to that charge on this point.  The State's evidence furnishes a basis authorizing the presumption of intent.
The motion then deals with propositions under 'assignments of error.'  In so far as they attempt to bring into discussion questions *Page 124 
not raised by bill of exception we give them no consideration.
The question of the admissibility of the confession introduced in evidence by the State need not be further discussed, other than to say there was positive testimony by the witnesses that it was freely and voluntarily made.  This was denied by appellant and the issue raised by his evidence was submitted to the jury in what appears to have been an acceptable manner.
Again it is contended, as on original submission, that the evidence was insufficient to support the conviction.  One of the parties engaged in the burglary was brought as a witness from the penitentiary.  He details the connection which appellant had with the planning of the burglary, and his part in aiding them to escape.  The written confession is to the same effect. Appellant's testimony on the witness stand is consistent with much of the same evidence.  It is true that he denied any knowledge of what the parties were intending to do. Admittedly, after the burglary was committed and he was aiding them in escaping and making an effort to find one of the parties who had become lost when their efforts were frustrated by a night watchman, he discovered a part of the loot in his car and required the others to throw this out by the side of the road.  Apparently they did this with some effort to seclude it, because they returned the following evening to get the loot.  Nevertheless, with this full knowledge, he drove the parties away from the scene, first to Leakey where they ate breakfast in the early morning, and then back to Kerrville and on to San Antonio.  It is also noticed that when he denied any knowledge of having the tools in the car, with which to break into a house, his testimony on a former trial was read and this discloses that he did know that they had such tools.
We think the evidence was amply sufficient to corroborate the principal witness, Donald Pogue, and to prove the corpus delicti.
The plea of former jeopardy is treated in the original opinion and we think the correct conclusion was reached.
The appellant's motion for rehearing is overruled.